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Litigation Funding Agreement

LITIGATION FUNDING AGREEMENT

This Litigation Funding Agreement Agreement”) 1s entered into this (st day of _Nov.. 2016, by

& : . & oS : o . wd ¥ mt a
and between Vieki Mize (“Clarnant”) and Litigation Management and Financial Services, LLC
(“Company”) (collectively referred to hercin as “Parties”) as follows:

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RECITALS

On July 26, 1990, the Americans with Disabilities Act (-ADA™) was signed into law, The
ADA is a comprehensive civil rights law prohibiting discrimination on the basis of disability.

a. The ADA contains four sub-parts. The first three sections of the statute, Titles |, IL, and
Hl, bar discrimination on the basis of disability in different areas of public life. ADA Title
Il addresses disability discrimination in public accommodations, defined to melude
places of education including post-graduate private schools, and bars disability
discrimination by "any person who owns, Icascs (or leases to), or operates a place of
public accommodation.” §§ L21B1(7), 12182. The enforcement provision of Title UL,
$ | 2188, incorporates the remedies of Title II of the Civil Rights Act, 42 U.S.C. § 2000a-
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Title HE of the ADA contains a list of general activities that it defines as discrimination: the
denial of an opportuntly to participaic, 42 USC. §§ 12 182¢b (A, 121S2(b NLC); the
provision of an uncqual bennett, af § 12182(b)( MAME: and the provision of a separate
benefit, unless doing so is neccessary to provide a benefit that is as effective as that provided to
with disahilitics to be afforded in the most integrated setting appropriate to the needs of the
individual. Jd § (21820650303).

Tithe 1 of the ADA prohibits discrimination on the basis of disability by these who own or
aperate places of public accommodation. 42 U.S.C. § 12182(a). In enacting the ADA,
Congress found that “historivally, socicty has tended to isolate and segregate individuals with
disabilities.” 42 U.S.C. § 12101 (a2). The ADA’s legislative history states that “[:|ntegration
is fundamental to the purposes of the AIDA. Provision of segregated accommodations and
services relegate persans with disabilities to second-class citizen status.” 1. Rep. 10148511),
10tst Cong., 2d Sess., at 56, reprinted in 1990 US.C.CAN, 445, 479.“ "TT ]he goal [is to]
eradicai{s] the “invisibility of the handicapped.” °’ Separate-bat-cqual services do not
accomplish this central goal and should be rejected.” fe at 50, 1990 U.S.CVCAN, at 473.
The ADA provides a “broad mandate” to “eliminate discrimination against disabled
individuals, and te integrate them ‘into the economic and social mainsircam of American lite.’
“PGA Tour, Inc. v. Martin, 332 US. 661, 675,121 SCL 879,149 LPd2d 904
(2001) (quoting H.R.Rep. No. 101-485, pt. 2, p. 30 (1990) reprinted in 1990 USCC ALN,

303, 332).

This integration mandate is found in two sections of the statute. Tide TM makes it
discriminatory to provide individuals with disabilities “with a goad, service, facility, privilege,
advantage, or accommodation that is different or separate Trom that provided to other
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individuals, unless such action is necessary” to provide facilities, accommodations and the like
that arc as effective as those provided others, 42 U.S.C. § 12182(b 1 WAG). It also requires
that “[gloods, services, facilities, privileges, advantages, aud accommodations shall be
afforded to an individual with a disability in the most integrated setting appropriate ta the needs
of the individual.” Jel, § 1218206401 )(B).

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Section 303 of the ADA required that all facilities designed and constructed after Jannary 26,
1993 must be “readily accessible to and useable by” individuals with disabilities. 42 LSC. §
12183(a\1). The statute further mstructed the DOJ to adopt implementing siandards and
regulations. 42 U.S.C. § 12186(b). On July 26, 1991, the DOJ adepted the Americans with
Disabilities Act Accessibility Guidelines as the 1991 Standards. 28 C.F.R. § 36.406(a) (1991).
The 1991 Standards arc now published as Appendix D to title 28, part 36 of the Code of Federal
Regulations. On September 15, 2016, the DOJ amended its regulations and adopted the 2610
Standards.

6 The ADA also provides a private deht of action for preventative relief, including an
application for 3 permanent or lerporary injunction or restraining arder for ‘any person whe
is being subjected to discrimination on the basis of disability in violation of Title TT 42
USC §§ 12182(a3(1), 2000a-3(a)}.

?, Virtually all individual States have passed legislation similar in intent and scope to the ADA,
&. Private enforcement suits are the primary method of obtaining relief under the ADA.

9. ‘The Chumant wishes to pursue Claims including private rights of action against places of
public accommodation with barriers te people with disabilities.

10. Claimant wishes to pursue Clarms on their own behalf but with the understanding that
enforcement of Claims may cause compliance by places of public accommodation which may
lead to the removal of barricrs to other persons with disabilities who have not yet, or could
not bring therr own claims.

11. Claimant wishes to pursue the Claims. However, Claimant does not wish to carry the Gnancial
burden of the litigation, nor the risk associated with legal casts.

12. Company is not enatled to or obliged to provide legal advice ta Claimant. The preparation
and conduct of litigation which is funded by Company is the responsibility of the Clanmant
and the Clatmant’s lawyer.

NOW, THEREFORE, the Partics enter the following

AGREEMENT

1, Objeet and Limitations of Engagement: This Agreement is Hmited to providing funding to

Claimant and to Claimant's attorney for legal services. The Claimant does not wish to bear

the litigation risk in pursing the Claims. For this reason, the Parties have agreed that

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Cormpary shall bear the costs so that Claimant may pursue the Claims. This cooperation
commences on the date indicated above in this Agreernent and ends once the Claims have
been determined and the Proceeds have been distributed or this agreement is terminated by
Company. If the Clams are successful, the Proceeds wall be distributed in accordance with
this Agreement.

2. Duties and Representations
a. The Claimant representy:

i. that at has the full night, power and authorily to pursue the Claims and that
it has not sold, transterred, assigned, or otherwise disposed of 115 imlerest tn
the Claims;

ii. there is no agreement with a third party preventing the Claimant from
assigning the Claims or its financial interest in the Claims and the Clannant
is free to assign Claims or financial interests without obtaining the couscnt
of a third party:

it. the Clammant is nol wware of any circumstances other than those listed in the
recital above, which could aftect the validity or enforceability of the Claims.

w. The documents which the Claimant has supplied, or will supply, provide a
true, accurate and complete representation of the circumstances giving mist
to the Claims:

v. There is no other dispute between the Claimant and the Opponent, whether
past, current, or future, which could have an impact on the Claims;

vi. There are no enforceable judgment aguinst the Claimant which may result
in insalvency proceedings being commenced against the Claimant.

hb. Claimant Duties

i. Clairnant shal! carry out all appropriate and necessary acts which support
the favorable determination of the Claims with reasonable care and will
julfy support the proceedings

ii. Claimant shall obtain Company's consent in advance of meurring costs. The
Claimant shall pass this obligation on lo tts lawyer.

ii, Claimant shall obtain Company’s consent before disposing of the Claims.

iv, Claimant may only discontinue the Claims with the poor consent of
Company.

v. Claimant is ablived at ihe request of Company to pursue catorcement of
any judgments obtained.

vi. Claimant hereby releases its lawyer frorn any duties of confidentiality as
concerns communication and disclosure between the lawyer and Company
of information relating to the Claims.

ea. Claimant shall inform Cornpany promptly and on an ongoine basis via its
lawyer on the status of proceedings and shall send to Company, promptly
and without anced for Company request, of new circumstances which have
come to light and which have an impact on the assessment of the merits or
the validity of the Claims or the legal risk. The Claimant shall pass on these
obligations to tts lawyer. The Claimant agrees to execute a separate power
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of attorney which shall entitke Company to request and view official and/or
court documents.
c. Company Dutics

i. Company shall carry out a review free of charge to assess whether the
Claims are capable of funding. Company shall net provide legal advice to
Claimant. Company's review is purely for its own bencfit and for the
purposes of assessing the prospects of success of the Claims. Company is
not obliged to justify its acceptance or rejection of any case,

u. Pounding: Subject to the terms sect out in this agrcement, Company shall pay
the costs of pursuing the Claims including costs of legal advice and
representation, court fees, costs arising from a court order in relation to
evidence and costs payable to ihe Opponent, providing the costs arise after
ihis agreement comes into force. Costs of legal advice and representation
must be pro-approved by Company including a review of Claimant's
attorney-client agreement. Company shall make such payments for costs
directly to Claimant's lawyer. The Claimant hereby authorizes its lawyer to
accept receipt of the payments.

iz. Subject to the terms sct out in this agreement, Company shall pay to
Claimant $50.00 for each of Claimant's claims that result in a filed
complaint initiating a civil action. This advance of costs is not required to
be repaid ta Company and is to be kept by Claimant regardiess of the
outcome of the action

i. Pay Schedule: Company shall pay to Claumant $20.00 for each of
Claimant's claims that result in a filed complaint within twenty-one
(21) calendar days of filmg a complaint. Company shall thereafter
pay Claimant $30.00 for cach of Claimant's claims that result in a
filed complamt within sixty (60) calendar days of filing a complaint.

iv. Company shall not be obligaied to pay Claimant's travel costs, transfer fers
or other hank charges, costs arising trom a set-off, or any other casts or focs
not specifically outlined in this agreement.

¥. Company shall pay the preseribed costs of enforemp a judement where
Cearmpany deems cnforcernent te be necessary and to have sulficiont
prospects of success.

3. Distribution of Proceeds
a. From the Proceeds of any successful Claims, Company shall first be entitled to
deduct all costs which Company has already incurred and any costs which #t has
yet to pay in accordance with this Agreement.
b. Claimant shall be entitled to all remaining Proceeds.
c. Claimant hereunder acknowledges the existence of an attorney-client agreement.
This Agreement, including this section discussing the distribution of Procecds, shal!

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4, Assign

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nol supersede any promise of payment made between Claimmmt and his/her
attomey.

Claimant hereunder fully consents and agrees for Company to pay to Claimant's
attorney all or any portion of Claimant’s promised fee to Claimant’s atiorncy 4s
agreed in Chumant’s attorney-clical agreement.

The term Proceeds shall include financial gains (including interest} which the
Claimant’s attorney is able to recover as a result of the court’s or any other official
judgement, a court approved or out-of-court settlement, or an admission by the
Opponent, Proceeds, as described in this Agreement, shall only refer to monetary
funds and shall not include causes of action for the Claimant’s benefit, financial
aain which is the result of being released from a claim, or the expiration of a claim
against Claimant.

Each party shall be responsible for the taxation of its share of the Procecds.
Company, in its judement, is entitled to determine the date on which Proceeds are
to be paid, but shall be paid no later than 60 days atter Proceeds are in the control
of Claimant, Claimant’s agent, or Claimant's attorney.

The Claimant is obliged to provide information to Company, whether requested
by Company or not, confirming the receipt, the nature and the value of any
Proceeds, includine any pecuniary advaniage oblained as a result of the snuecessf!
Claims funded by Company.

Payment of the Proceeds shall be made into the Claimant's lawyer's chent
account and shall remain held until the distribution of the Proceeds has been
caleulated and approved by Company. The Claimant shall require all Proceeds ta
be paid direcily to its lawyer.

meat of Claims to Company as Security

The Claimant shall assign all Claims, rights to claim costs and all subsidiary
rights to Company by way of security if at any point an assignment agreement Is
reqacsted by Company

b. The Claimant shall, if so required by Company, execute a deed or other notarized
document which gives cffect to such assignment.
¢. The Claimant shall, if so required by Company, execute and convey power of
atlormey to Company.
&. Confidentiality
a. All discussions between Company with Claimant, Company with Claimant's

attarney, and any of Company's representative with any of Claimant's
representatives, including this agreement are confidential and intended to remain
confidential. [xcept as expressly permitted herein, The Parties agrees not to
disclose the existence of this Agreement, any of its terms, or any other details
learned while engaged with one another, to any person or entity nota party to this
Agreement excepting the Partics’ legal representatives. The Parties shall maintain
in strict confidence any and all information disclosed. The Parties agree that if
asked about dircetly, the Parties may state that they entered inte a confidential
agreement For litigation support.

6, Termination

a.

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Claimant shall only be entitled 10 terminate this apreernent for good cause. ‘The
Parties agree that improved praspects of success in relation to the Clans ora
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change in Claimant's financial standing ure not good causes. Death of Claimant
shall net result in a termination of this agreement. All rights and obligations under
this agreement shall pass to the Claimant's personal representatives.

b. Following termination of this agreement by Clammant, Company, at iis own risk
and for its sole bencfii may continue the proceedings without the participation of
Chumant. Company shall be entitled to require Clarmant to continuc procecdings
if Company does not wish to continue proceedings m its own name and if
Company does not wish to disclose the fact that the procecdings are beg funded.
in this case, Company will indemnify Claimant for all legal costs associated with
the proceedings and the Procceds shall be paid in full to Company.

c. Company has taken on the legal costs risks known us of the date of this
Agreement. In the event that new circumstances come to light or are brought to
Company's attention tor the first time, and as a result of such circumstances the
prospect af success are lower than at the time of entering into this agreement,
Company shall be entitled to terminate this aprecracnt in whole or in part without
notice and to cease any further funding of Claimant's Claims.

ad. In any event, Company shall be entitled to terminate this Agreement in whole or

in part at the conclusion of proceedings at cach instance and to ccase funding

from that point onwards.

in the event of termination of this agreement by Company, Company shall pay the

costs incurred to the date of termination and which apply to discontinue the

Claims or part of the Claims immediately and most cost-ctfectively. The Claimant

shall be entitled ta continue with ihe proceedings to pursue the Claims a1 its own

costs. In the event that the Claimant succeeds, the Claimant shall reimburse

Company for all costs incurred by Company.

f Company shall release or relurn any such securities as have been provided to
Company once Cornpany has no further interest in or reason to require a security.

7. Seltlement

a. Claimant affirms that it has had full und lengthy opportunity to discuss with
Company the options for and likelihood of settlement of Clanns, Claimant
believes that settlement of Claims pives the greatest chance that defendants will
comply with the ADA.

b. Claimant therefore gives Company full and complete authorization to negotiate
and accept any settlements of Claims. Claimant agrees to cooperaic and consent
tw any setticrnent deemed reasonably by Company.

c. Claimant agrees to direct his/her ultormey to settle Claims as directed by Company
if se directed.

d. Claimant and Company jointly reaffirm their mutual goal to bring about ADA
compliance through the filing of complaints asserting Claimant’s Claims, and
entering inte scrtlement agreements with covenants to rectify ADA violations.

8. Dispute Resolution

a. In the event of disagreement arising during the negotiation, exccution or
performance of this agreement, the Parties shall first attempt to find an amicable
solution by submitting a notice of dispute in writing.

b. if the Parties are unable to find an amicable solution within 30 days of a notice of
dispute, the Parties agree to submit to a private and confidential mediation and

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shall mediate the matter no later than 120 days after the date of the notice of
dispute,

c. ifthe Parties arc unable to successfully mediate any dispute the parties agree to
submit any claims or causes of action to private binding arbitration.

d. Each party shall bear thei own costs af mediation and shall share the costs of the
mediator.

6. [farbitration is necessary, the successful party shall be entitled to recover from
the losing party its costs, fees, and expenses related to the arbitration.

3. Miscellaneous

a, This agreement constitutes the entire Agreement between the parties and
superscides and lomminates any previous agrcements whether written or oral. Any
modification or variation to this Agreement must be im writing.

b. Uf any portion of this agreement is found to be void or unentorceable or a
provision of the Agreement is missing, the remaining provisions of this
Agreement shall continue in fill force and effect.

c. The Parties agrce that this agreement shall be governed by Arizona law with
venue of any dispute resolution proceeding to take place in the state and county im
which Claimant resides at the time the Agreement was executed.

‘The parties have executed this Agreement as of the dyte first writer apove. Ly

Name: Nate: ¥1 ‘

On behalf of Litigation Management

and Financial Services, LLC

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